 Case 22-10609-amc         Doc 73-1 Filed 04/21/22 Entered 04/21/22 16:19:06              Desc
                             Certificate of Service Page 1 of 2



                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                           :     CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC                  :     BANKRUPTCY NO. 22-10609(AMC)

                        Debtor       :
____________________________________ •

                                 CERTIFICATE OF SERVICE

         I, Robert W. Seitzer, do hereby certify that on the 2P‘ day of April, 2022,1 caused to be

served a copy of the Notice of Motion, Response Deadline and Hearing Date on the Motion of

Debtor for Entry of an Order Authorizing the (I) Rejection of a Non-Residential Real Property

Lease Pursuant to 11 U.S.C. § 365 and Fed. R. Bankr. P. 6006 and (II) Abandonment of Personal

Property Pursuant to 11 U.S.C. § 554(a) and Fed. R. Bankr. P. 6007(a) upon the parties on the

attached list in the manner indicated thereon.


                                                 KARALIS PC


                                                 By:   /s/ Robert W. Seitzer______
                                                       ROBERT W. SEITZER

                                                       Attorneys for the Debtor
Dated: April 21, 2022
               Case 22-10609-amc     Doc 73-1 Filed 04/21/22 Entered 04/21/22 16:19:06                         Desc
                                       Certificate of Service Page 2 of 2
VIA U.S. FIRST CLASS MAIL               Federal Resources Financial Credit Union   Jersey Construction, Inc.
                                        520 Route 22 East                          838 Piney Hollow Road
                                        Bridgewater, NJ 08807                      P.O. Box 557
                                                                                   Hammonton, NJ 08037



MARX Sheet Metal & Mechanical Inc.      Louis N. Rothberg & Son, Inc.              IT Landes Company
373 High Street                         550 Cedar Avenue                           247 Main Street
Wilkes Barre, PA 18702                  Middlesex, NJ 08846                        Harleysville, PA 19438




2M Electric LLC                         Philadelphia Carpentry Systems             William Walter Construction Group LLC
109 Camars Drive                        5 N. Columbus Blvd., Pier 5                1431 N. Tuckahoe Road
Warwick, PA 18974                       Philadelphia, PA 19103                     Williamstown, NJ 08094




Reilly Glazing Inc.                     RDL Construction LLC                       1st Black Hawk LLC
200 E. Washington Street                1044 Industrial Drive, Unit 1              715 EastNields Street
Norristown, PA 19401                    West Berlin, NJ 08091                      West Chester, PA 19382




Fromkin Brothers Inc.                   Cippco Inc.                                Edward B. O’Reilly & Associates, Inc.
4510 Adam Circle, Unit E                9323 Keystone Street                       30 West Highland Avenue
Bensalem, PA 19020                      Philadelphia, PA 19114                     Philadelphia, PA 19118




Mayfield Site Contractors               Portugese Structural Steel, Inc.           Bristol Millwork Inc.
596 Swedeland Road                      255 South Street                           4560 Tacony Street
King of Prussia, PA 19406               Newark, NJ 07114                           Philadelphia, PA 19124




VIP Construction Services, Inc.         Avon Brothers, Inc.
15 Fresh Ponds Road                     5021 Industrial Road
Monroe Twp., NJ 08831                   Farmingdale, NJ QTTII
